             Case 2:24-cv-13425-LJM-EAS ECF No. 2, PageID.56 Filed 12/20/24 Page 1 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District of Michigan



Hilgart-Griff et al                                                  )
                                                                     )
                                                                     )            Civil Action No. 2:24-cv-13425
                                                      Plaintiff,     )
                                                                     )
                                       v.                            )
Regents of the University of Michigan et al                          )            Hon. Laurie J. Michelson
                                                                     )
                                                                     )
                                                      Defendant.     )

                                                     SUMMONS IN A CIVIL ACTION

To:        Regents of the University of Michigan



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               John C. Philo
               Sugar Law Center
               4605 Cass Avenue
               Detroit, MI 48201



       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


.,1,.,$'(66,;, CLERK OF COURT                                   By: S/C Shrum
                                                                         Signature of Clerk or Deputy Clerk

                                                                         Date of Issuance: December 20, 2024
             Case 2:24-cv-13425-LJM-EAS ECF No. 2, PageID.57 Filed 12/20/24 Page 2 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 2:24-cv-13425
                                                               Hon. Laurie J. Michelson

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Regents of the University of Michigan
 was received by me on (date)                                       .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
             Case 2:24-cv-13425-LJM-EAS ECF No. 2, PageID.58 Filed 12/20/24 Page 3 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District of Michigan



Hilgart-Griff et al                                                  )
                                                                     )
                                                                     )            Civil Action No. 2:24-cv-13425
                                                      Plaintiff,     )
                                                                     )
                                       v.                            )
Regents of the University of Michigan et al                          )            Hon. Laurie J. Michelson
                                                                     )
                                                                     )
                                                      Defendant.     )

                                                     SUMMONS IN A CIVIL ACTION

To:        Santa Ono



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               John C. Philo
               Sugar Law Center
               4605 Cass Avenue
               Detroit, MI 48201



       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


.,1,.,$'(66,;, CLERK OF COURT                                   By: S/C Shrum
                                                                         Signature of Clerk or Deputy Clerk

                                                                         Date of Issuance: December 20, 2024
             Case 2:24-cv-13425-LJM-EAS ECF No. 2, PageID.59 Filed 12/20/24 Page 4 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 2:24-cv-13425
                                                               Hon. Laurie J. Michelson

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Santa Ono
 was received by me on (date)                                        .

            u I personally served the summons on the individual at (place)
                                                                                on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                   for services, for a total of $                      .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                        Server’s signature



                                                                                      Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
             Case 2:24-cv-13425-LJM-EAS ECF No. 2, PageID.60 Filed 12/20/24 Page 5 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District of Michigan



Hilgart-Griff et al                                                  )
                                                                     )
                                                                     )            Civil Action No. 2:24-cv-13425
                                                      Plaintiff,     )
                                                                     )
                                       v.                            )
Regents of the University of Michigan et al                          )            Hon. Laurie J. Michelson
                                                                     )
                                                                     )
                                                      Defendant.     )

                                                     SUMMONS IN A CIVIL ACTION

To:        Omar E. Torres



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               John C. Philo
               Sugar Law Center
               4605 Cass Avenue
               Detroit, MI 48201



       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


.,1,.,$'(66,;, CLERK OF COURT                                   By: S/C Shrum
                                                                         Signature of Clerk or Deputy Clerk

                                                                         Date of Issuance: December 20, 2024
             Case 2:24-cv-13425-LJM-EAS ECF No. 2, PageID.61 Filed 12/20/24 Page 6 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 2:24-cv-13425
                                                               Hon. Laurie J. Michelson

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Omar E. Torres
 was received by me on (date)                                       .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
             Case 2:24-cv-13425-LJM-EAS ECF No. 2, PageID.62 Filed 12/20/24 Page 7 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District of Michigan



Hilgart-Griff et al                                                  )
                                                                     )
                                                                     )            Civil Action No. 2:24-cv-13425
                                                      Plaintiff,     )
                                                                     )
                                       v.                            )
Regents of the University of Michigan et al                          )            Hon. Laurie J. Michelson
                                                                     )
                                                                     )
                                                      Defendant.     )

                                                     SUMMONS IN A CIVIL ACTION

To:        Grand River Solutions, Inc.



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               John C. Philo
               Sugar Law Center
               4605 Cass Avenue
               Detroit, MI 48201



       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


.,1,.,$'(66,;, CLERK OF COURT                                   By: S/C Shrum
                                                                         Signature of Clerk or Deputy Clerk

                                                                         Date of Issuance: December 20, 2024
             Case 2:24-cv-13425-LJM-EAS ECF No. 2, PageID.63 Filed 12/20/24 Page 8 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 2:24-cv-13425
                                                               Hon. Laurie J. Michelson

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Grand River Solutions, Inc.
 was received by me on (date)                                       .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
             Case 2:24-cv-13425-LJM-EAS ECF No. 2, PageID.64 Filed 12/20/24 Page 9 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District of Michigan



Hilgart-Griff et al                                                  )
                                                                     )
                                                                     )            Civil Action No. 2:24-cv-13425
                                                      Plaintiff,     )
                                                                     )
                                       v.                            )
Regents of the University of Michigan et al                          )            Hon. Laurie J. Michelson
                                                                     )
                                                                     )
                                                      Defendant.     )

                                                     SUMMONS IN A CIVIL ACTION

To:        Stephanie Jackson



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               John C. Philo
               Sugar Law Center
               4605 Cass Avenue
               Detroit, MI 48201



       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


.,1,.,$'(66,;, CLERK OF COURT                                   By: S/C Shrum
                                                                         Signature of Clerk or Deputy Clerk

                                                                         Date of Issuance: December 20, 2024
            Case 2:24-cv-13425-LJM-EAS ECF No. 2, PageID.65 Filed 12/20/24 Page 10 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 2:24-cv-13425
                                                               Hon. Laurie J. Michelson

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Stephanie Jackson
 was received by me on (date)                                        .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                        Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
            Case 2:24-cv-13425-LJM-EAS ECF No. 2, PageID.66 Filed 12/20/24 Page 11 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District of Michigan



Hilgart-Griff et al                                                  )
                                                                     )
                                                                     )            Civil Action No. 2:24-cv-13425
                                                      Plaintiff,     )
                                                                     )
                                       v.                            )
Regents of the University of Michigan et al                          )            Hon. Laurie J. Michelson
                                                                     )
                                                                     )
                                                      Defendant.     )

                                                     SUMMONS IN A CIVIL ACTION

To:        Martino Harmon



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               John C. Philo
               Sugar Law Center
               4605 Cass Avenue
               Detroit, MI 48201



       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


.,1,.,$'(66,;, CLERK OF COURT                                   By: S/C Shrum
                                                                         Signature of Clerk or Deputy Clerk

                                                                         Date of Issuance: December 20, 2024
            Case 2:24-cv-13425-LJM-EAS ECF No. 2, PageID.67 Filed 12/20/24 Page 12 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 2:24-cv-13425
                                                               Hon. Laurie J. Michelson

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Martino Harmon
 was received by me on (date)                                       .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
            Case 2:24-cv-13425-LJM-EAS ECF No. 2, PageID.68 Filed 12/20/24 Page 13 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                                UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District of Michigan



Hilgart-Griff et al                                                  )
                                                                     )
                                                                     )            Civil Action No. 2:24-cv-13425
                                                      Plaintiff,     )
                                                                     )
                                       v.                            )
Regents of the University of Michigan et al                          )            Hon. Laurie J. Michelson
                                                                     )
                                                                     )
                                                      Defendant.     )

                                                     SUMMONS IN A CIVIL ACTION

To:        Beyond Consulting Group, LLC



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
               John C. Philo
               Sugar Law Center
               4605 Cass Avenue
               Detroit, MI 48201



       If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


.,1,.,$'(66,;, CLERK OF COURT                                   By: S/C Shrum
                                                                         Signature of Clerk or Deputy Clerk

                                                                         Date of Issuance: December 20, 2024
            Case 2:24-cv-13425-LJM-EAS ECF No. 2, PageID.69 Filed 12/20/24 Page 14 of 14
AO 440 (Rev. 06/12) Summons in a Civil Action



                                       Summons and Complaint Return of Service

                                                               Case No. 2:24-cv-13425
                                                               Hon. Laurie J. Michelson

                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Beyond Consulting Group, LLC
 was received by me on (date)                                       .

            u I personally served the summons on the individual at (place)
                                                                               on (date)                           ; or

            u I left the summons at the individual’s residence or usual place of abode with (name)
                                                             , a person of suitable age and discretion who resides there,
            on (date)                           , and mailed a copy to the individual’s last known address; or

            u I served the summons on (name of individual)                                                                  , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                           ; or

            u I returned the summons unexecuted because                                                                           ; or

            u Other (specify):
                                                                                                                                       .

          My fees are $                         for travel and $                  for services, for a total of $                       .

          I declare under penalty of perjury that this information is true.

 Date:
                                                                                       Server’s signature



                                                                                     Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
